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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA


KEVIN HEGWOOD                                                )
     Plaintiff                                               )
                                                             ) CASE NO. 2:11-CV-292
     v.                                                      )
LIGHTHOUSE RECOVERY ASSOCIATES, LLC                          )
     Defendant.                                              )



                                DEFENDANT’S MOTION
                          FOR JUDGMENT ON THE PLEADINGS

         Comes now Defendant, Lighthouse Recovery Associates, LLC, by counsel, pursuant to

Rule 12(c) of the Federal Rules of Civil Procedure, moves for judgment on the pleadings. In

support of this Motion, Defendant contemporaneously files its Brief in Support of Motion for

Judgment on the Pleadings.

         WHEREFORE, Defendant, Lighthouse Recovery Associates, LLC, prays that the Court

enter judgment on the pleadings and for all other just and proper relief.


                                              KIGHTLINGER & GRAY, LLP


                                              By      s/ Peter A. Velde
                                                      Peter A. Velde
                                                      Attorney I.D. No. 949-49

                                              By      s/ Nicholas W. Levi
                                                      Nicholas W. Levi
                                                      Attorney I.D. No. 24278-53
                                                      Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 22, 2011, I electronically filed the foregoing pleading
with the Clerk of the Court using the CM/ECF system which sent notification of such filing to
the following:

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